Case 1:19-cv-20045-RNS Document 76 Entered on FLSD Docket 08/01/2019 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 1:19-cv-20045-RNS (SCOLA/LOUIS)


    AIRBNB, INC.,

             Plaintiff

    v.

    CITY OF MIAMI BEACH,

         Defendant.
    ______________________________________

                         STIPULATION OF DISMISSAL AND SETTLEMENT

             WHEREAS, on February 13, 2019, the City of Miami Beach (“the City”) amended

  Ordinance No. 2018-4211 by enacting Ordinance No. 2019-4245 (together, the “Ordinance”). The

  Ordinance imposes requirements on every “hosting platform, advertisement platform, or short-

  term residential rental advertising platforming” (collectively, “platforms”), defined as “an internet-

  enabled application, mobile application, or any other digital platform that is used to connect guests

  with a short-term residential rental provider for the purpose of renting a short-term residential

  rental.”

             WHEREAS, Section 102-387 states, “[e]ach platform . . . will not list, or permit any person

  to list, any short-term residential rental on its platform, unless the platform … (b) Must display the

  property owner’s City-issued business tax receipt number and resort tax registration certificate

  number for each listing that appears on a short-term residential rental [platform].”

             WHEREAS, Airbnb, Inc. (“Airbnb”) has filed this action against the City seeking to

  preliminarily and permanently enjoin the City from enforcing the Ordinance against Airbnb.




                                                      1
Case 1:19-cv-20045-RNS Document 76 Entered on FLSD Docket 08/01/2019 Page 2 of 5



         WHEREAS, Airbnb and the City have disagreed about the proper interpretation of Section

  102-387.

         NOW, THEREFORE, the parties hereto stipulate and agree as follows with respect to the

  interpretation and enforcement of the Ordinance:

         1.      Section 102-387(A) requires that hosting platforms (a) post a notice on its website

  advising short-term residential rental providers and property owners that such providers are

  required to obtain a City-issued business tax receipt and a resort tax registration certificate in order

  to list a rental property on a hosting platform and (b) display a user-inputted City-issued business

  tax receipt number (“BTR”) and City-issued resort tax registration certificate number on listings

  for short-term rentals covered by the Ordinance. The hosting platform is not required to verify

  whether those numbers are issued by the City or are otherwise valid.

         2.      The City will not enforce or otherwise seek to impose penalties under the Ordinance

  against Airbnb for violations of Section 102-387(A) unless Airbnb fails to make the required

  posting or to display a user-inputted City-issued BTR number and user-inputted resort tax

  registration certificate number for each individual short-term residential rental unit listing that

  appears on its platform.1 For clarity, the City will not enforce or otherwise seek to impose penalties

  under Section 102-387(B) of the Ordinance against Airbnb for the failure to verify whether the

  alphanumeric BTR and resort tax registration certificate number that a user inputs was issued by

  the City or is otherwise valid.




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    The parties reserve all rights with respect to the applicability, if any, of Section 102-387(C)(3)(b)
  of the Ordinance, and with respect to any potential claims by the City for resort taxes, business tax
  receipt fees, and resort tax registration certificate fees incurred prior to the effective date of this
  agreement.


                                                     2
Case 1:19-cv-20045-RNS Document 76 Entered on FLSD Docket 08/01/2019 Page 3 of 5



         3.      Airbnb agrees to comply with the Ordinance, as set forth in paragraphs 1 and 2

  above, including by posting the required notice and displaying a user-inputted City-issued BTR

  number and resort tax registration certificate number for each individual short-term residential

  rental unit listing covered by the Ordinance in the City that appears on Airbnb’s platform.

         4.      Airbnb’s compliance with the Ordinance in this manner shall commence one month

  from the Effective Date for new listings and three months from the Effective Date for existing

  listings, during which time Airbnb will engage in an effort to educate and communicate with users

  in Miami Beach about the Ordinance’s requirements, as set forth in paragraphs 1 and 2 above.

         5.      As long as Airbnb continues to geofence as set forth in Section 102-387(C) of the

  Ordinance through the date set forth in paragraph 4 above, Airbnb and its hosts may honor

  bookings for listings in Miami Beach made prior to the deadlines set forth in paragraph 4 above

  associated with Airbnb’s suspension of a listing for failure to display a user-inputted business tax

  receipt number and/or resort tax registration certificate number made prior to the deadlines set

  forth in paragraph 4 above as long as such bookings have a check-in date commencing on or before

  December 31, 2019. Any bookings allowed by this paragraph must be located in a zoning district

  of the City of Miami Beach which permits transient (short-term) rentals pursuant to the City’s

  applicable Land Development Regulations.

         6.      Airbnb shall provide $380,000 to the City (the “Provision”), within 14 days of the

  Effective date, which it may use in its discretion, including to educate residents about home-

  sharing rules and/or for the enforcement of Section 102-387 of the Ordinance.

         7.      The City shall not enforce Section 102-387(A) of the Ordinance against Airbnb,

  including through the retroactive imposition of penalties, until three months from the Effective




                                                   3
Case 1:19-cv-20045-RNS Document 76 Entered on FLSD Docket 08/01/2019 Page 4 of 5



  Date, and only on a prospective basis from that date on. Nothing in this paragraph will affect the

  rights of the parties as set forth in paragraph 2 footnote 1 above.

         8.      This stipulation and agreement shall apply consistent with the interpretation of

  Section 102-387(A) of the Ordinance as set forth herein. It shall not apply to any other provision

  of the Ordinance.

         9.      Airbnb shall have the opportunity to withdraw from this stipulation if there are any

  amendments to Section 102-387 of the Ordinance or any other material change in City law that

  alters the notice and display requirements owed by hosting platforms after the Effective Date. To

  the extent Airbnb withdraws from the agreement prior to three months from the date of the

  Provision, the City shall return the Provision in full to Airbnb; to the extent Airbnb withdraws

  from the agreement after three months but prior to six months from the date of the Provision, the

  City shall return two-thirds (2/3) of the Provision to Airbnb; to the extent Airbnb withdraws from

  the agreement after six months but prior to nine months from the date of the Provision, the City

  shall return one-third (1/3) of the Provision to Airbnb. Airbnb’s withdrawal shall be effective after

  5 days of notice provided to the City.

         10.     Airbnb hereby agrees to dismiss this action against the City without prejudice and

  with each party to bear its own attorney’s fees and costs, pursuant to Rule 41(a)(2) of the Federal

  Rules of Civil Procedure.

         11.     The City shall not agree to any other hosting platform being entitled to the benefits

  of this agreement without that hosting platform agreeing to its terms.

         12.     Nothing in this Stipulation shall affect any other duties of either party.

         13.     This Stipulation of Dismissal and Settlement shall become effective upon entry by

  the Court (“Effective Date”).




                                                    4
Case 1:19-cv-20045-RNS Document 76 Entered on FLSD Docket 08/01/2019 Page 5 of 5



  Dated: August 1, 2019

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                                                      SO ORDERED:

                                                      ____________________________
                                                      Hon. Robert N. Scola
                                                      United States District Judge




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